Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 1 of 114




                      Exhibit 9A
                  TO UNITED STATES’ BILL OF COSTS
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 2 of 114




                                                        Depositions_001
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 3 of 114




                                                        Depositions_002
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 4 of 114




                                                        Depositions_003
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 5 of 114




                                                        Depositions_004
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 6 of 114




                                                        Depositions_005
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 7 of 114




                                                        Depositions_006
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 8 of 114




                                                        Depositions_007
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 9 of 114




                                                        Depositions_008
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 10 of 114




                                                        Depositions_009
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 11 of 114




                                                        Depositions_010
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 12 of 114




                                                        Depositions_011
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 13 of 114




                                                        Depositions_012
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 14 of 114




                                                        Depositions_013
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 15 of 114




                                                        Depositions_014
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 16 of 114




                                                        Depositions_015
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 17 of 114




                                                        Depositions_016
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 18 of 114




                                                        Depositions_017
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 19 of 114




                                                        Depositions_018
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 20 of 114




                                                        Depositions_019
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 21 of 114




                                                        Depositions_020
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 22 of 114




                                                        Depositions_021
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 23 of 114




                                                        Depositions_022
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 24 of 114




                                                        Depositions_023
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 25 of 114




                                                        Depositions_024
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 26 of 114




                                                        Depositions_025
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 27 of 114




                                                        Depositions_026
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 28 of 114




                                                        Depositions_027
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 29 of 114




                                                        Depositions_028
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 30 of 114




                                                        Depositions_029
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 31 of 114




                                                        Depositions_030
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 32 of 114




                                                        Depositions_031
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 33 of 114




                                                        Depositions_032
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 34 of 114




                                                        Depositions_033
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 35 of 114




                                                        Depositions_034
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 36 of 114




                                                        Depositions_035
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 37 of 114




                                                        Depositions_036
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 38 of 114




                                                        Depositions_037
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 39 of 114




                                                        Depositions_038
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 40 of 114




                                                        Depositions_039
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 41 of 114




                                                        Depositions_040
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 42 of 114




                                                        Depositions_041
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 43 of 114




                                                        Depositions_042
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 44 of 114




                                                        Depositions_043
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 45 of 114




                                                        Depositions_044
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 46 of 114




                                                        Depositions_045
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 47 of 114




                                                        Depositions_046
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 48 of 114




                                                        Depositions_047
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 49 of 114




                                                        Depositions_048
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 50 of 114




                                                        Depositions_049
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 51 of 114




                                                        Depositions_050
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 52 of 114




                                                        Depositions_051
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 53 of 114




                                                        Depositions_052
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 54 of 114




                                                        Depositions_053
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 55 of 114




                                                        Depositions_054
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 56 of 114




                                                        Depositions_055
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 57 of 114




                                                        Depositions_056
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 58 of 114




                                                        Depositions_057
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 59 of 114




                                                        Depositions_058
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 60 of 114




                                                        Depositions_059
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 61 of 114




                                                        Depositions_060
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 62 of 114




                                                        Depositions_061
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 63 of 114




                                                        Depositions_062
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 64 of 114




                                                        Depositions_063
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 65 of 114




                                                        Depositions_064
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 66 of 114




                                                        Depositions_065
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 67 of 114




                                                        Depositions_066
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 68 of 114




                                                        Depositions_067
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 69 of 114




                                                        Depositions_068
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 70 of 114




                                                        Depositions_069
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 71 of 114




                                                        Depositions_070
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 72 of 114




                                                        Depositions_071
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 73 of 114




                                                        Depositions_072
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 74 of 114




                                                        Depositions_073
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 75 of 114




                                                        Depositions_074
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 76 of 114




                                                        Depositions_075
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 77 of 114




                                                        Depositions_076
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 78 of 114




                                                        Depositions_077
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 79 of 114




                                                        Depositions_078
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 80 of 114




                                                        Depositions_079
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 81 of 114




                                                        Depositions_080
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 82 of 114




                                                        Depositions_081
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 83 of 114




                                                        Depositions_082
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 84 of 114




                                                        Depositions_083
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 85 of 114




                                                        Depositions_084
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 86 of 114




                                                        Depositions_085
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 87 of 114




                                                        Depositions_086
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 88 of 114




                                                        Depositions_087
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 89 of 114




                                                        Depositions_088
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 90 of 114




                                                        Depositions_089
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 91 of 114




                                                        Depositions_090
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 92 of 114




                                                        Depositions_091
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 93 of 114




                                                        Depositions_092
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 94 of 114




                                                        Depositions_093
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 95 of 114




                                                        Depositions_094
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 96 of 114




                                                        Depositions_095
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 97 of 114




                                                        Depositions_096
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 98 of 114




                                                        Depositions_097
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 99 of 114




                                                        Depositions_098
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 100 of 114




                                                         Depositions_099
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 101 of 114




                                                         Depositions_100
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 102 of 114




                                                         Depositions_101
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 103 of 114




                                                         Depositions_102
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 104 of 114




                                                         Depositions_103
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 105 of 114




                                                         Depositions_104
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 106 of 114




                                                         Depositions_105
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 107 of 114




                                                         Depositions_106
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 108 of 114




                                                         Depositions_107
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 109 of 114




                                                         Depositions_108
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 110 of 114




                                                         Depositions_109
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 111 of 114




                                                         Depositions_110
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 112 of 114




                                                         Depositions_111
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 113 of 114




                                                         Depositions_112
Case 2:10-md-02179-CJB-DPC Document 15835-9 Filed 02/08/16 Page 114 of 114




                                                         Depositions_113
